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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MISSOURI
                          EASTERN DIVISION


UNITED STATES OF AMERICA,            )
                                     )
      Plaintiff,                     )
                                     )
      vs.                            )    Case No. 4:08CR378 CDP
                                     )
MICHELLE STALEY,                     )
                                     )
      Defendant.                     )

                                   ORDER


      IT IS HEREBY ORDERED that the Bond Revocation Hearing as to

defendant Michelle Staley is reset to Friday, September 19, 2008 at 1:30 p.m.

in Courtroom 14-South.



                                     _______________________________
                                     CATHERINE D. PERRY
                                     UNITED STATES DISTRICT JUDGE


Dated this 17th day of September, 2008.
